                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
                               Plaintiff,       )
                                                )
                v.                              )     No. 08-00244-02-CR-W-NKL
                                                )
DANIEL DOMINGUEZ,                               )
                                                )
                               Defendant.       )


                            ACCEPTANCE OF PLEA OF GUILTY
                             AND ADJUDICATION OF GUILT

        Pursuant to the Report and Recommendation of United States Magistrate John Maughmer,

to which no objection has been filed, the pleas of guilty to Counts 1 and 4 of the Indictment are now

accepted. Defendant is adjudged guilty of such offenses. Sentencing will be set by subsequent order

of the court.


                                                       s/ NANETTE K. LAUGHREY
                                                      NANETTE K. LAUGHREY
                                                      United States District Judge

Dated: December 31, 2008




        Case 4:08-cr-00244-NKL              Document 34    Filed 12/31/08      Page 1 of 1
